Case MDL No. 2942 Document 1-9 Filed 04/20/20 Page 1 of 31




         EXHIBIT 6
4/20/2020                                       SDNY CM/ECF
                          Case MDL No. 2942 Document  1-9 NextGen  Version 1.2
                                                            Filed 04/20/20     Page 2 of 31
                                                                                                                          ECF

                                               U.S. District Court
                                   Southern District of New York (Foley Square)
                                 CIVIL DOCKET FOR CASE #: 1:20-cv-03107-RA


 Gio Pizzeria & Bar Hospitality, LLC et al v. Certain Underwriters                  Date Filed: 04/17/2020
 at Lloyd's, London Subscribing to Policy Numbers ARP-74910-20                      Jury Demand: Plaintiff
 and ARP-75209-20                                                                   Nature of Suit: 110 Insurance
 Assigned to: Judge Ronnie Abrams                                                   Jurisdiction: Diversity
 Demand: $5,000,000
 Cause: 28:1332 Diversity Action
 Plaintiff
 Gio Pizzeria & Bar Hospitality, LLC                                  represented by Adam J Levitt
 individually and on behalf of all others                                            DiCello Levitt Gutzler LLC
 similarly situated                                                                  Ten North Dearborn Street
                                                                                     Ste Eleventh Floor
                                                                                     Chicago, IL 60602
                                                                                     312-214-7900
                                                                                     Email: alevitt@dicellolevitt.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Mark A DiCello
                                                                                     DiCello Levitt
                                                                                     7556 Mentor Avenue
                                                                                     Mentor, OH 44060
                                                                                     440-953-8888
                                                                                     Email: madicello@dicellolevitt.com
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Greg G Gutzler
                                                                                     DiCello Levitt Gutzler LLC
                                                                                     444 Madison Avenue
                                                                                     New York, NY 10022
                                                                                     314-833-6645
                                                                                     Email: ggutzler@dicellolevitt.com
                                                                                     ATTORNEY TO BE NOTICED
 Plaintiff
 Gio Pizzeria Boca, LLC                                               represented by Adam J Levitt
 individually and on behalf of all others                                            (See above for address)
 similarly situated                                                                  LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

                                                                                     Mark A DiCello
                                                                                     (See above for address)
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?102627008655134-L_1_0-1                                                    1/3
4/20/2020                                       SDNY CM/ECF
                          Case MDL No. 2942 Document  1-9 NextGen  Version 1.2
                                                            Filed 04/20/20     Page 3 of 31
                                                                   Greg G Gutzler
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED


 V.
 Defendant
 Certain Underwriters at Lloyd's, London
 Subscribing to Policy Numbers ARP-
 74910-20 and ARP-75209-20


  Date Filed            # Docket Text
  04/17/2020           1 COMPLAINT against CERTAIN UNDERWRITERS AT LLOYDS, LONDON
                         SUBSCRIBING TO POLICY NUMBER ARP-74910-20. (Filing Fee $ 400.00, Receipt
                         Number ANYSDC-19485989)Document filed by Gio Pizzeria & Bar Hospitality, LLC, Gio
                         Pizzeria Boca, LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B).(Gutzler, Greg) (Entered:
                         04/17/2020)
  04/17/2020           2 CIVIL COVER SHEET filed..(Gutzler, Greg) (Entered: 04/17/2020)
  04/20/2020                CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
                            assigned to Judge Ronnie Abrams. Please download and review the Individual Practices of
                            the assigned District Judge, located at https://nysd.uscourts.gov/judges/district-judges.
                            Attorneys are responsible for providing courtesy copies to judges where their Individual
                            Practices require such. Please download and review the ECF Rules and Instructions, located
                            at https://nysd.uscourts.gov/rules/ecf-related-instructions..(pne) (Entered: 04/20/2020)
  04/20/2020                Magistrate Judge Kevin Nathaniel Fox is so designated. Pursuant to 28 U.S.C. Section
                            636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified that they may consent to proceed
                            before a United States Magistrate Judge. Parties who wish to consent may access the
                            necessary form at the following link: https://nysd.uscourts.gov/sites/default/files/2018-
                            06/AO-3.pdf. (pne) (Entered: 04/20/2020)
  04/20/2020                Case Designated ECF. (pne) (Entered: 04/20/2020)
  04/20/2020                ***NOTICE TO ATTORNEY REGARDING PARTY MODIFICATION. Notice to
                            attorney Greg G Gutzler. The party information for the following party/parties has
                            been modified: Certain Underwriters at Lloyd's, London Subscribing to Policy
                            Numbers ARP-74910-20 and ARP-75209-20. The information for the party/parties has
                            been modified for the following reason/reasons: party name was entered in all caps.
                            (pne) (Entered: 04/20/2020)
  04/20/2020           3 NOTICE OF APPEARANCE by Greg G Gutzler on behalf of Gio Pizzeria & Bar
                         Hospitality, LLC, Gio Pizzeria Boca, LLC..(Gutzler, Greg) (Entered: 04/20/2020)
  04/20/2020           4 NOTICE OF APPEARANCE by Adam J Levitt on behalf of Gio Pizzeria & Bar
                         Hospitality, LLC, Gio Pizzeria Boca, LLC..(Levitt, Adam) (Entered: 04/20/2020)
  04/20/2020           5 NOTICE OF APPEARANCE by Mark A DiCello on behalf of Gio Pizzeria & Bar
                         Hospitality, LLC, Gio Pizzeria Boca, LLC..(DiCello, Mark) (Entered: 04/20/2020)



                                                        PACER Service Center
                                                             Transaction Receipt
https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?102627008655134-L_1_0-1                                                  2/3
4/20/2020                                       SDNY CM/ECF
                          Case MDL No. 2942 Document  1-9 NextGen  Version 1.2
                                                            Filed 04/20/20     Page 4 of 31
                                                                04/20/2020 11:40:44
                                   PACER Login: lfsblaw0044           Client Code:    COVID-19 Bus Int Ins
                                   Description:      Docket Report Search Criteria: 1:20-cv-03107-RA
                                   Billable Pages: 2                  Cost:           0.20




https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?102627008655134-L_1_0-1                                      3/3
            Case
             CaseMDL
                  1:20-cv-03107
                      No. 2942 Document
                                Document1-9
                                         1 Filed
                                            Filed04/17/20
                                                  04/20/20 Page
                                                            Page15ofof27
                                                                       31



                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


 GIO PIZZERIA & BAR HOSPITALITY,
 LLC and GIO PIZZERIA BOCA, LLC,
 individually and on behalf of all others
 similarly situated,
                                                         Civil Action No. ____________
                                 Plaintiffs,

             v.                                          JURY TRIAL DEMANDED

 CERTAIN UNDERWRITERS AT LLOYD’S,
 LONDON SUBSCRIBING TO POLICY
 NUMBERS ARP-74910-20 and ARP-75209-
 20,

                                 Defendants.



                                     CLASS ACTION COMPLAINT

       Plaintiffs GIO Pizzeria & Bar Hospitality, LLC and GIO Pizzeria Boca, LLC (together,

“GIO”), individually and on behalf of the other members of the below-defined nationwide

Plaintiffs’ classes (collectively, the “Insured Class”), bring this class action against Defendants

Certain Underwriters at Lloyd’s, London Subscribing to Policy Numbers ARP-74910-20 and

ARP-75209-20 (“Underwriters”), and in support thereof state the following:

                                I.       NATURE OF THE ACTION

       1.         Plaintiffs GIO own and operate Nick’s New Haven Style Pizzeria & Bar (“Nick’s

Pizzerias”), full-service bar and restaurants, specializing in coal-fired pizza, with locations in Coral

Springs, Florida and Boca Raton, Florida. Nick’s Pizzerias’ futures are now threatened by

COVID-19 (a.k.a. the “coronavirus” or “SARS-CoV-2”).

       2.         To protect their businesses in the event that they suddenly had to suspend operations

for reasons outside of its control, or in order to prevent further property damage, Plaintiffs
            Case
             CaseMDL
                  1:20-cv-03107
                      No. 2942 Document
                                Document1-9
                                         1 Filed
                                            Filed04/17/20
                                                  04/20/20 Page
                                                            Page26ofof27
                                                                       31



purchased insurance coverage from Underwriters, including special property coverage, as set forth

in Underwriters’ Business Income (and Extra Expense) Coverage Form (“Special Property

Coverage Form”).

       3.      Underwriters’ Special Property Coverage Form provides “Business Income”

coverage, which promises to pay for loss due to the necessary suspension of operations following

physical loss or damage to property.

       4.      Underwriters’ Special Property Coverage Form also provides “Civil Authority”

coverage, which promises to pay for loss caused by the action of a civil authority that prohibits

access to the insured premises.

       5.      Underwriters’ Special Property Coverage Form also provides “Extra Expense”

coverage, which promises to pay the expense incurred to minimize the suspension of business and

to continue operations.

       6.      Underwriters’ Special Property Coverage Form, under a section entitled “Duties in

the Event of Loss” mandates that Underwriter’s insured “must see that the following are done in

the event of loss”. . . [t]ake all reasonable steps to protect the Covered Property from further

damage and keep a record of your expenses necessary to protect the Covered Property, for

consideration in the settlement of the claim.”

       7.      Unlike many policies that provide Business Income (also referred to as “business

interruption”) coverage, Underwriters’ Special Property Coverage Form does not include, and is

not subject to, any exclusion for losses caused by viruses or communicable diseases.

       8.      Plaintiffs GIO were forced to suspend or reduce business at their Nick’s Pizzerias

due to COVID-19 and the resultant orders issued by civil authorities in Florida mandating the

suspension of business for on-site services, as well as in order to take necessary steps to prevent

further damage and minimize the suspension of business and continue operations.
                                                 2
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page37ofof27
                                                                        31



       9.      Upon information and belief, Underwriters have, on a widescale and uniform basis,

refused to pay its insureds under its Business Income, Civil Authority, Extra Expense, and Sue and

Labor coverages for losses suffered due to COVID-19, any executive orders by civil authorities

that have required the necessary suspension of business, and any efforts to prevent further property

damage or to minimize the suspension of business and continue operations. Indeed, Underwriters

have denied claims submitted by Plaintiffs GIO under their policies.

                             II.    JURISDICTION AND VENUE

       10.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332, because

Plaintiffs and Defendants are citizens of different countries, and because: (a) the Class consists of

at least 100 members; (b) the amount in controversy exceeds $5,000,000 exclusive of interest and

costs; and (c) no relevant exceptions apply to this claim.

       11.     Venue is proper in this District under 28 U.S.C. § 1391, because the policies

specifically state that service of suit may be made upon an agent domiciled in New York at a

specific New York address. The policies further state that, in the event the Underwriters fail to

pay any amount claimed to be due, the Underwriters “will submit to the jurisdiction of a Court of

competent jurisdiction within the United States.”

                                     III.    THE PARTIES

Plaintiffs

       12.     Plaintiff GIO Pizzeria & Bar Hospitality, LLC is a Florida LLC, with its principal

place of business in Coral Springs, Florida. Plaintiff GIO Pizzeria & Bar Hospitality, LLC owns

and operates Nick’s New Haven Style Pizzeria & Bar, located in Coral Springs, Florida.

       13.     Plaintiff GIO Pizzeria Boca, LLC is a Florida LLC, with its principal place of

business in Boca Raton, Florida. Plaintiff GIO Pizzeria & Bar Hospitality, LLC owns and operates

Nick’s New Haven Style Pizzeria & Bar, located in Boca Raton, Florida.
                                                 3
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page48ofof27
                                                                        31



Defendants

       14.     Underwriters are composed of separate syndicates, in turn comprised of entities

known as “Names,” which underwrite insurance in a market known as Lloyd’s of London. Each

“Name” and syndicate is organized under the laws of the United Kingdom and is located in and

has its principal place of business in England.

                              IV.     FACTUAL BACKGROUND

A.     The Special Property Coverage Form

       15.     In return for the payment of a premium, Underwriters issued Policy No. ARP-

74910-20 to GIO Pizzeria & Bar Hospitality, LLC, for a policy period of June 1, 2019 to June 1,

2020, including a Business Income (And Extra Expense) Coverage Form. Policy No. ARP-74910-

20 is attached hereto as Exhibit A. GIO Pizzeria & Bar Hospitality, LLC has performed all of its

obligations under Policy No. ARP-74910-20, including the payment of premiums. The Covered

Property, with respect to the Special Property Coverage Form, is the Nick’s Pizzeria at 2444 North

University Drive, Coral Springs, Florida.

       16.     In return for the GIO’s premium payments, Underwriters issued Policy No. ARP-

75209-20 to GIO Pizzeria Boca, LLC for a policy period of February 21, 2020 to February 21,

2021, including a Business Income (And Extra Expense) Coverage Form. Policy No. ARP-75209-

20 is attached hereto as Exhibit B. GIO Pizzeria Boca, LLC has performed all of its obligations

under Policy No. ARP-75209-20, including the payment of premiums. The Covered Property,

with respect to the Special Property Coverage Form, is the Nick’s Pizzeria at 2240 NW 19 Street,

Suite 904, Boca Raton, Florida.

       17.     Each Plaintiff’s Special Property Coverage Form, included within the policies

attached as Exhibits A-B, includes identical Business Income, Civil Authority, Extra Expense, and

Sue and Labor coverages.
                                                  4
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page59ofof27
                                                                        31



       18.     In many parts of the world, property insurance is sold on a specific peril basis. Such

policies cover a risk of loss if that risk of loss is specifically listed (e.g., hurricane, earthquake,

H1N1, etc.). Most property policies sold in the United States, however, including those sold by

Underwriters insurance, are all-risk property damage policies. These types of policies cover all

risks of loss except for risks that are expressly and specifically excluded. Under the heading

“Covered Causes of Loss,” Underwriters agreed to pay for direct physical loss “unless the loss is

excluded or limited” in the policies.

       19.     Underwriters did not exclude or limit coverage for losses from viruses in Plaintiffs’

policies or those of the other Class members.

       20.     Losses due to COVID-19 are a Covered Cause of Loss under the Underwriters’

policies with the Special Property Coverage Form.

       21.     In the Special Property Coverage Form, Underwriters agreed to pay for its insureds’

actual loss of Business Income sustained due to the necessary suspension of its operations during

the “period of restoration” caused by direct physical loss or damage. A “slowdown or cessation”

of business activities at the Covered Property is a “suspension” under the policy, for which

Underwriters agreed to pay for loss of Business Income during the “period of restoration” that

begins 72 hours after the time of direct physical loss or damage.

       22.     “Business Income” means net income (or loss) before tax that Plaintiffs would have

earned and continuing normal operating expenses incurred, including payroll.

       23.     The presence of virus or disease can constitute physical damage to property, as the

insurance industry has recognized since at least 2006.           When preparing so-called “virus”

exclusions to be placed in some policies, but not others, the insurance industry drafting arm, ISO,

circulated a statement to state insurance regulators that included the following:



                                                  5
             Case
              CaseMDL
                   1:20-cv-03107
                      No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed 04/17/20
                                                   04/20/20 Page
                                                            Page 610ofof2731



                Disease-causing agents may render a product impure (change its
                quality or substance), or enable the spread of disease by their
                presence on interior building surfaces or the surfaces of personal
                property. When disease-causing viral or bacterial contamination
                occurs, potential claims involve the cost of replacement of property
                (for example, the milk), cost of decontamination (for example,
                interior building surfaces), and business interruption (time element)
                losses. Although building and personal property could arguably
                become contaminated (often temporarily) by such viruses and
                bacteria, the nature of the property itself would have a bearing on
                whether there is actual property damage. An allegation of property
                damage may be a point of disagreement in a particular case.

       24.      In the Special Property Coverage Form, Underwriters also agreed to pay necessary

Extra Expense that its insureds incur during the “period of restoration” that the insureds would not

have incurred if there had been no direct physical loss or damage to the Covered Property.

       25.      “Extra Expense” includes expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

       26.      Underwriters also agreed to “pay for the actual loss of Business Income” that

Plaintiffs sustains “and any Extra Expense caused by action of civil authority that prohibits access

to” the Covered Property when a Covered Cause of Loss causes damage to property near the

Covered Property, the civil authority prohibits access to property immediately surrounding the

damaged property, the Covered Property is within the prohibited area, and the civil authority action

is taken “in response to dangerous physical conditions.”

       27.      Underwriters’ Special Property Coverage Form, under a section entitled “Duties in

the Event of Loss” mandates that Underwriters’ insureds “must see that the following are done in

the event of loss. . . [t]ake all reasonable steps to protect the Covered Property from further damage

and keep a record of your expenses necessary to protect the Covered Property, for consideration

in the settlement of the claim.” This is commonly referred to as “Sue and Labor” coverage.




                                                  6
             Case
              CaseMDL
                   1:20-cv-03107
                      No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed 04/17/20
                                                   04/20/20 Page
                                                            Page 711ofof2731



       28.      Losses caused by COVID-19 and the related orders issued by local, state, and

federal authorities triggered the Business Income, Extra Expense, Civil Authority, and Sue and

Labor provisions of the Underwriters policy.

B.     The Covered Cause of Loss

       29.      The presence of COVID-19 has caused civil authorities throughout the country to

issue orders requiring the suspension of business at a wide range of establishments, including civil

authorities with jurisdiction over Plaintiffs’ businesses (the “Closure Orders”).

       1.       The Florida Closure Orders

       30.      On March 17, 2020, Boca Raton issued a civil authority order requiring the closing

of bars and from selling alcohol and banning dine-in eating in Boca Raton restaurants. This order

has been in effect since March 17, 2020.

       31.      On March 17, 2020, Florida Governor Ron DeSantis issued a civil authority order

restricting bars from selling alcohol and ordering every restaurant to limit its occupancy to 50% of

current building capacity. This order has been in effect since March 17, 2020.

       32.      On March 18, 2020, Coral Springs issued a civil authority order requiring the

closing of bars and effectively limiting the capacity of restaurants by requiring social distancing

measures. This order has been in effect since March 18, 2020.

       33.      On March 20, 2020, Florida Governor Ron DeSantis issued a civil authority order

requiring the suspension of alcohol sales for on-premises consumption and the suspension of all

dine-in eating at restaurants. This order has been in effect since March 20, 2020.

       34.      On March 22, 2020, Broward County issued a civil authority order requiring the

closure of bars in Broward County and banning dine-in eating in Broward County restaurants.

This order has been in effect since March 22, 2020.



                                                 7
              Case
               CaseMDL
                    1:20-cv-03107
                       No. 2942 Document
                                  Document1-9
                                           1 Filed
                                              Filed 04/17/20
                                                    04/20/20 Page
                                                             Page 812ofof2731



        35.       The Florida, Broward County, Coral Springs, and Boca Raton Closure Orders were

issued in response to the rapid spread of COVID-19 throughout Florida.

        2.        The Impact of COVID-19 and the Closure Orders

        36.       The presence of COVID-19 caused direct physical loss of or damage to the covered

property under the Plaintiffs’ policies, and the policies of the other Class members, by denying use

of and damaging the covered property, and by causing a necessary suspension of operations during

a period of restoration.

        37.       The Closure Orders prohibited access to Plaintiffs and the other Class members’

Covered Property, and the area immediately surrounding Covered Property, in response to

dangerous physical conditions resulting from a Covered Cause of Loss.

        38.       As a result of the presence of COVID-19 and the Closure Orders, Plaintiffs and the

other Class members lost Business Income and incurred Extra Expense.

        39.       Plaintiffs submitted claims for loss to Underwriters under their policies due to the

presence of COVID-19 and the Closure Orders, and Underwriters denied those claims.

                             V.      CLASS ACTION ALLEGATIONS

        40.       Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2), 23(b)(3), and

23(c)(4) of the Federal Rules of Civil Procedure, individually and on behalf of all others similarly

situated.

        41.       Plaintiffs seek to represent nationwide classes defined as:

                 All persons and entities that: (a) had Business Income coverage
                  under a property insurance policy issued by Underwriters; (b)
                  suffered a suspension of business related to COVID-19, at the
                  premises covered by their Underwriters property insurance policy;
                  (c) made a claim under their property insurance policy issued by
                  Underwriters; and (d) were denied Business Income coverage by
                  Underwriters for the suspension of business resulting from the
                  presence or threat of COVID-19 (the “Business Income Breach
                  Class”).
                                                    8
Case
 CaseMDL
      1:20-cv-03107
         No. 2942 Document
                    Document1-9
                             1 Filed
                                Filed 04/17/20
                                      04/20/20 Page
                                               Page 913ofof2731




   All persons and entities that: (a) had Civil Authority coverage under
    a property insurance policy issued by Underwriters; (b) suffered
    loss of Business Income and/or Extra Expense caused by action of a
    civil authority; (c) made a claim under their property insurance
    policy issued by Underwriters; and (d) were denied Civil Authority
    coverage by Underwriters for the loss of Business Income and/or
    Extra Expense caused by a Closure Order (the “Civil Authority
    Breach Class”).

   All persons and entities that: (a) had Extra Expense coverage under
    a property insurance policy issued by Underwriters; (b) sought to
    minimize the suspension of business in connection with COVID-19
    at the premises covered by their Underwriters property insurance
    policy; (c) made a claim under their property insurance policy issued
    by Underwriters; and (d) were denied Extra Expense coverage by
    Underwriters despite their efforts to minimize the suspension of
    business caused by COVID-19 (the “Extra Expense Breach Class”).

   All persons and entities that: (a) had a Sue and Labor provision
    under a property insurance policy issued by Underwriters; (b)
    sought to prevent property damage caused by COVID-19 by
    suspending or reducing business operations, at the premises covered
    by their Underwriters property insurance policy; (c) made a claim
    under their property insurance policy issued by Underwriters; and
    (d) were denied Sue and Labor coverage by Underwriters in
    connection with the suspension of business caused by COVID-19
    (the “Sue and Labor Breach Class”).

  All persons and entities with Business Income coverage under a
   property insurance policy issued by Underwriters that suffered a
   suspension of business due to COVID-19 at the premises covered
   by the business income coverage (the “Business Income Declaratory
   Judgment Class”).

  All persons and entities with Civil Authority coverage under a
   property insurance policy issued by Underwriters that suffered loss
   of Business Income and/or Extra Expense caused by a Closure Order
   (the “Civil Authority Declaratory Judgment Class”).

  All persons and entities with Extra Expense coverage under a
   property insurance policy issued by Underwriters that sought to
   minimize the suspension of business in connection with COVID-19
   at the premises covered by their Underwriters property insurance
   policy (the “Extra Expense Declaratory Judgment Class”).


                                     9
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page10
                                                                  14ofof27
                                                                         31



               All persons and entities with a Sue and Labor provision under a
                property insurance policy issued by Underwriters that sought to
                prevent property damage caused by COVID-19 by suspending or
                reducing business operations, at the premises covered by their
                Underwriters property insurance policy (the “Sue and Labor
                Declaratory Judgment Class”).

       42.      Excluded from each defined Class are Defendants and any of their members,

affiliates, parents, subsidiaries, officers, directors, employees, successors, or assigns;

governmental entities; and the Court staff assigned to this case and their immediate family

members. Plaintiffs reserve the right to modify or amend each of the Class definitions, as

appropriate, during the course of this litigation.

       43.      This action has been brought and may properly be maintained on behalf of each

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

       44.      Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of each

defined Class are so numerous that individual joinder of all Class members is impracticable. While

Plaintiffs are informed and believes that there are thousands of members of each Class, the precise

number of Class members is unknown to Plaintiffs but may be ascertained from Defendants’ books

and records. Class members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. Mail, electronic mail, internet

postings, and/or published notice.

       45.      Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting only individual Class members, including, without limitation:

             a. Underwriters issued all-risk policies to the members of the Class in exchange for

                payment of premiums by the Class members;




                                                     10
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page11
                                                                  15ofof27
                                                                         31



             b. whether the Class suffered a covered loss based on the common policies issued to

                members of the Class;

             c. whether Underwriters wrongfully denied all claims based on COVID-19;

             d. whether Underwriters’ Business Income coverage applies to a suspension of

                business caused by COVID-19;

             e. whether Underwriters’ Civil Authority coverage applies to a loss of Business

                Income caused by the orders of state governors requiring the suspension of

                business as a result of COVID-19;

             f. whether Underwriters’ Extra Expense coverage applies to efforts to minimize a

                loss caused by COVID-19;

             g. whether Underwriters’ Sue and Labor provision applies to require Underwriters to

                pay for efforts to reduce damage caused by COVID-19;

             h. whether Underwriters has breached its contracts of insurance through a blanket

                denial of all claims based on business interruption, income loss or closures related

                to COVID-19 and the related closures; and

             i. whether Plaintiffs and the Class are entitled to an award of reasonable attorney

                fees, interest and costs.

       46.      Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are

typical of the other Class members’ claims because Plaintiffs and the other Class members are all

similarly affected by Defendants’ refusal to pay under its Business Income, Civil Authority, Extra

Expense, and Sue and Labor coverages. Plaintiffs’ claims are based upon the same legal theories

as those of the other Class members. Plaintiffs and the other Class members sustained damages

as a direct and proximate result of the same wrongful practices in which Defendants engaged.



                                                 11
              Case
               CaseMDL
                    1:20-cv-03107
                        No. 2942 Document
                                  Document1-9
                                           1 Filed
                                              Filed04/17/20
                                                    04/20/20 Page
                                                              Page12
                                                                   16ofof27
                                                                          31



        47.      Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiffs are adequate Class representatives because their interests do not conflict with the

interests of the other Class members who they seek to represent, Plaintiffs have retained counsel

competent and experienced in complex class action litigation, including successfully litigating

class action cases similar to this one, where insurers breached contracts with insureds by failing to

pay the amounts owed under their policies, and Plaintiffs intend to prosecute this action vigorously.

The interests of the above-defined Classes will be fairly and adequately protected by Plaintiffs and

their counsel.

        48.      Inconsistent or Varying Adjudications and the Risk of Impediments to Other

Class Members’ Interests—Federal Rule of Civil Procedure 23(b)(1). Plaintiffs seek class-

wide adjudication as to the interpretation, and resultant scope, of Defendants’ Business Income,

Civil Authority, Extra Expense, and Sue and Labor coverages. The prosecution of separate actions

by individual members of the Classes would create an immediate risk of inconsistent or varying

adjudications that would establish incompatible standards of conduct for the Defendants.

Moreover, the adjudications sought by Plaintiffs could, as a practical matter, substantially impair

or impede the ability of other Class members, who are not parties to this action, to protect their

interests.

        49.      Declaratory and Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2).

Defendants acted or refused to act on grounds generally applicable to Plaintiffs and the other Class

members, thereby making appropriate final injunctive relief and declaratory relief, as described

below, with respect to the Class members.

        50.      Superiority—Federal Rule of Civil Procedure 23(b)(3).            A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.
                                                 12
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page13
                                                                  17ofof27
                                                                         31



Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court.

                                 VI.     CLAIMS FOR RELIEF

                                         COUNT I
               BREACH OF CONTRACT – BUSINESS INCOME COVERAGE
                (Claim Brought on Behalf of the Business Income Breach Class)

       51.      Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

       52.      Plaintiffs bring this Count individually and on behalf of the other members of the

Business Income Breach Class.

       53.      Plaintiffs’ Underwriters policies, as well as those of the other Business Income

Breach Class members, are contracts under which Underwriters were paid premiums in exchange

for their promise to pay Plaintiffs and the other Business Income Breach Class members’ losses

for claims covered by the policy.

       54.      In the Special Property Coverage Form, Underwriters agreed to pay for its insureds’

actual loss of Business Income sustained due to the necessary suspension of its operations during

the “period of restoration.”

       55.      A “slowdown or cessation” of business activities at the Covered Property is a

“suspension” under the policy, for which Underwriters agreed to pay for loss of Business Income

during the “period of restoration” that begins within 72 hours after the time of direct physical loss

or damage.




                                                 13
               Case
                CaseMDL
                     1:20-cv-03107
                         No. 2942 Document
                                   Document1-9
                                            1 Filed
                                               Filed04/17/20
                                                     04/20/20 Page
                                                               Page14
                                                                    18ofof27
                                                                           31



         56.      “Business Income” means net income (or loss) before tax that Plaintiffs and the

other Business Income Breach Class members would have earned “if no physical loss or damage

had occurred” and continuing normal operating expenses incurred.

         57.      COVID-19 caused direct physical loss and damage to Plaintiffs and the other

Business Income Breach Class members’ Covered Properties, requiring suspension of operations

at the Covered Properties. Losses caused by COVID-19 thus triggered the Business Income

provision of Plaintiffs and the other Business Income Breach Class members’ Underwriters’

policies.

         58.      Plaintiffs and the other Business Income Breach Class members have complied

with all applicable provisions of their policies and/or those provisions have been waived by

Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous

terms.

         59.      By denying coverage for any Business Income losses incurred by Plaintiffs and the

other Business Income Breach Class members in connection with the COVID-19 pandemic,

Underwriters has breached its coverage obligations under the policies.

         60.      As a result of Underwriters’ breaches of the policies, Plaintiffs and the other

Business Income Breach Class members have sustained substantial damages for which

Underwriters is liable, in an amount to be established at trial.

                                          COUNT II
                 BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
                  (Claim Brought on Behalf of the Civil Authority Breach Class)

         61.      Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.



                                                 14
               Case
                CaseMDL
                     1:20-cv-03107
                         No. 2942 Document
                                   Document1-9
                                            1 Filed
                                               Filed04/17/20
                                                     04/20/20 Page
                                                               Page15
                                                                    19ofof27
                                                                           31



         62.      Plaintiffs bring this Count individually and on behalf of the other members of the

Civil Authority Breach Class.

         63.      Plaintiffs’ Underwriters insurance policies, as well as those of the other Civil

Authority Breach Class members, are contracts under which Underwriters was paid premiums in

exchange for its promise to pay Plaintiffs and the other Civil Authority Breach Class members’

losses for claims covered by the policy.

         64.      Underwriters agreed to “pay for the actual loss of Business Income” that insureds

sustain “and any Extra Expense caused by action of civil authority that prohibits access to” the

Covered Property when a Covered Cause of Loss causes damage to property near the Covered

Property, the civil authority prohibits access to property immediately surrounding the damaged

property, the Covered Property is within the prohibited area, and the civil authority action is taken

“in response to dangerous physical conditions.”

         65.      The Closure Orders triggered the Civil Authority provision under Plaintiffs and the

other members of the Civil Authority Breach Class’s Underwriters insurance policies.

         66.      Plaintiffs and the other members of the Civil Authority Breach Class have complied

with all applicable provisions of the policies, and/or those provisions have been waived by

Underwriters, or is Underwriters estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the Policies’ clear and unambiguous

terms.

         67.      By denying coverage for any business losses incurred by Plaintiffs and other

members of the Civil Authority Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Underwriters has breached its coverage obligations under the policies.




                                                  15
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page16
                                                                  20ofof27
                                                                         31



       68.      As a result of Underwriters’ breaches of the policies, Plaintiffs and the other

members of the Civil Authority Breach Class have sustained substantial damages for which

Underwriters is liable, in an amount to be established at trial.

                                        COUNT III
                BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
                 (Claim Brought on Behalf of the Extra Expense Breach Class)

       69.      Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

       70.      Plaintiffs bring this Count individually and on behalf of the other members of the

Extra Expense Breach Class.

       71.      Plaintiffs’ Underwriters insurance policies, as well as those of the other Extra

Expense Breach Class members, are contracts under which Underwriters was paid premiums in

exchange for its promise to pay Plaintiffs and the other Extra Expense Breach Class members’

losses for claims covered by the policy.

       72.      In the Special Property Coverage Form, Underwriters also agreed to pay necessary

Extra Expense that its insureds incur during the “period of restoration” that the insureds would not

have incurred if there had been no direct physical loss or damage to the Covered Property.

       73.      “Extra Expense” includes expenses to avoid or minimize the suspension of

business, continue operations, and to repair or replace property.

       74.      Due to COVID-19 and the Closure Orders, Plaintiffs and the other members of the

Extra Expense Breach Class incurred Extra Expense at Covered Property

       75.      Plaintiffs and the other members of the Extra Expense Breach Class have complied

with all applicable provisions of the policies and/or those provisions have been waived by

Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has



                                                 16
               Case
                CaseMDL
                     1:20-cv-03107
                         No. 2942 Document
                                   Document1-9
                                            1 Filed
                                               Filed04/17/20
                                                     04/20/20 Page
                                                               Page17
                                                                    21ofof27
                                                                           31



abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous

terms.

         76.      By denying coverage for any business losses incurred by Plaintiffs and the other

members of the Extra Expense Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Underwriters has breached its coverage obligations under the policies.

         77.      As a result of Underwriters’ breaches of the policies, Plaintiffs and the other

members of the Extra Expense Breach Class have sustained substantial damages for which

Underwriters is liable, in an amount to be established at trial.

                                         COUNT IV
                  BREACH OF CONTRACT – SUE AND LABOR COVERAGE
                  (Claim Brought on Behalf of the Sue and Labor Breach Class)

         78.      Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

         79.      Plaintiffs bring this Count individually and on behalf of the other members of the

Sue and Labor Breach Class.

         80.      Plaintiffs’ Underwriters policies, as well as those of the other Sue and Labor Breach

Class members, are contracts under which Underwriters was paid premiums in exchange for its

promise to pay Plaintiffs and the other Sue and Labor Breach Class members’ losses for claims

covered by the policy.

         81.      In the Special Property Coverage Form, Underwriters agreed to give due

consideration in settlement of a claim to expenses incurred in taking all reasonable steps to protect

Covered Property from further damage.

         82.      In complying with the Closure Orders and otherwise suspending or limiting

operations, Plaintiffs and other members of the Sue and Labor Breach Class incurred expenses in

connection with reasonable steps to protect Covered Property.
                                                   17
               Case
                CaseMDL
                     1:20-cv-03107
                         No. 2942 Document
                                   Document1-9
                                            1 Filed
                                               Filed04/17/20
                                                     04/20/20 Page
                                                               Page18
                                                                    22ofof27
                                                                           31



         83.      Plaintiffs and the other members of the Sue and Labor Breach Class have complied

with all applicable provisions of the policy and/or those provisions have been waived by

Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous

terms.

         84.      By denying coverage for any Sue and Labor expenses incurred by Plaintiffs and the

other members of the Sue and Labor Breach Class in connection with the Closure Orders and the

COVID-19 pandemic, Underwriters has breached its coverage obligations under the policies.

         85.      As a result of Underwriters’ breaches of the policies, Plaintiffs and the other

members of the Sue and Labor Breach Class have sustained substantial damages for which

Underwriters is liable, in an amount to be established at trial.

                                          COUNT V
             DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
         (Claim Brought on Behalf of the Business Income Declaratory Judgment Class)

         86.      Plaintiffs Underwriters (“Plaintiffs” for the purpose of this claim) repeat and

realleges Paragraphs 1-50 as if fully set forth herein.

         87.      Plaintiffs bring this Count individually and on behalf of the other members of the

Business Income Declaratory Judgment Class.

         88.      Plaintiffs’ Underwriters policies, as well as those of the other Business Income

Declaratory Judgment Class members, are contracts under which Underwriters was paid premiums

in exchange for its promise to pay Plaintiffs and the other Business Income Declaratory Judgment

Class members’ losses for claims covered by the policy.

         89.      Plaintiffs and the other Business Income Declaratory Judgment Class members

have complied with all applicable provisions of the policies and/or those provisions have been

waived by Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters
                                                  18
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page19
                                                                  23ofof27
                                                                         31



has abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous

terms and has wrongfully and illegally refused to provide coverage to which Plaintiffs and the

other Business Income Declaratory Judgment Class members are entitled.

       90.      Underwriters has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class have filed a claim.

       91.      An actual case or controversy exists regarding Plaintiffs and the other Business

Income Declaratory Judgment Class members’ rights and Underwriters’ obligations under the

policies to reimburse Plaintiffs for the full amount of Business Income losses incurred by Plaintiffs

and the other Business Income Declaratory Judgment Class members in connection with

suspension of their businesses stemming from the COVID-19 pandemic.

       92.      Pursuant to 28 U.S.C. § 2201, Plaintiffs and the other Business Income Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

          i.    Plaintiffs and the other Business Income Declaratory Judgment Class members’

                Business Income losses incurred in connection with the Closure Orders and the

                necessary interruption of their businesses stemming from the COVID-19 pandemic

                are insured losses under their policies; and

         ii.    Underwriters is obligated to pay Plaintiffs and the other Business Income

                Declaratory Judgment Class members for the full amount of the Business Income

                losses incurred and to be incurred in connection with the Closure Orders during the

                period of restoration and the necessary interruption of their businesses stemming

                from the COVID-19 pandemic.




                                                 19
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page20
                                                                  24ofof27
                                                                         31



                                       COUNT VI
          DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
       (Claim Brought on Behalf of the Civil Authority Declaratory Judgment Class)

       93.      Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

       94.      Plaintiffs bring this Count individually and on behalf of the other members of the

Civil Authority Declaratory Judgment Class.

       95.      Plaintiffs’ Underwriters insurance policy, as well as those of the other Civil

Authority Declaratory Judgment Class members, are contracts under which Underwriters was paid

premiums in exchange for its promise to pay Plaintiffs and the other Civil Authority Declaratory

Judgment Class members’ losses for claims covered by the policy.

       96.      Plaintiffs and the other Civil Authority Declaratory Judgment Class members have

complied with all applicable provisions of the policies and/or those provisions have been waived

by Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous terms

and has wrongfully and illegally refused to provide coverage to which Plaintiffs and the other

Class members are entitled.

       97.      Underwriters has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class have filed a claim.

       98.      An actual case or controversy exists regarding Plaintiffs and the other Civil

Authority Declaratory Judgment Class members’ rights and Underwriters’ obligations under the

policies to reimburse Plaintiffs and the other Civil Authority Declaratory Judgment Class members

for the full amount of covered Civil Authority losses incurred by Plaintiffs and the other Civil



                                                20
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page21
                                                                  25ofof27
                                                                         31



Authority Declaratory Judgment Class members in connection with Closure Orders and the

necessary interruption of their businesses stemming from the COVID-19 pandemic.

       99.      Pursuant to 28 U.S.C. § 2201, Plaintiffs and the other Civil Authority Declaratory

Judgment Class members seek a declaratory judgment from this

Court declaring the following:

          i.    Plaintiffs and the other Civil Authority Declaratory Judgment Class members’ Civil

                Authority losses incurred in connection with the Closure Orders and the necessary

                interruption of their businesses stemming from the COVID-19 pandemic are

                insured losses under their policies; and

         ii.    Underwriters is obligated to pay Plaintiffs and the other Civil Authority Declaratory

                Judgment Class members the full amount of the Civil Authority losses incurred and

                to be incurred in connection with the covered losses related to the Closure Orders

                and the necessary interruption of their businesses stemming from the COVID-19

                pandemic

                                      COUNT VII
           DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
       (Claim Brought on Behalf of the Extra Expense Declaratory Judgment Class)

       100.     Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

       101.     Plaintiffs bring this Count individually and on behalf of the other members of the

Extra Expense Declaratory Judgment Class.

       102.     Plaintiffs’ Underwriters insurance policy, as well as those of the other Extra

Expense Declaratory Judgment Class members, are contracts under which Underwriters was paid

premiums in exchange for its promise to pay Plaintiffs and the other Extra Expense Declaratory

Judgment Class members’ losses for claims covered by the policy.
                                                 21
           Case
            CaseMDL
                 1:20-cv-03107
                     No. 2942 Document
                               Document1-9
                                        1 Filed
                                           Filed04/17/20
                                                 04/20/20 Page
                                                           Page22
                                                                26ofof27
                                                                       31



       103.    Plaintiffs and the other Extra Expense Declaratory Judgment Class members have

complied with all applicable provisions of the policies and/or those provisions have been waived

by Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the policies clear and unambiguous terms

and has wrongfully and illegally refused to provide coverage to which Plaintiffs and the other

Class members are entitled.

       104.    Underwriters has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class have filed a claim.

       105.    An actual case or controversy exists regarding Plaintiffs and the other Extra

Expense Declaratory Judgment Class members’ rights and Underwriters’ obligations under the

policies to reimburse Plaintiffs and the other Extra Expense Declaratory Judgment Class members

for the full amount of Extra Expense losses incurred by Plaintiffs in connection with Closure

Orders and the necessary interruption of their businesses stemming from the COVID-19 pandemic.

       106.    Pursuant to 28 U.S.C. § 2201, Plaintiffs and the other Extra Expense Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

          i.   Plaintiffs and the other Extra Expense Declaratory Judgment Class members’ Extra

               Expense losses incurred in connection with the Closure Orders and the necessary

               interruption of their businesses stemming from the COVID-19 pandemic are

               insured losses under their policies; and

         ii.   Underwriters is obligated to pay Plaintiffs and the other Extra Expense Declaratory

               Judgment Class members for the full amount of the Extra Expense losses incurred

               and to be incurred in connection with the covered losses related to the Closure



                                                22
           Case
            CaseMDL
                 1:20-cv-03107
                     No. 2942 Document
                               Document1-9
                                        1 Filed
                                           Filed04/17/20
                                                 04/20/20 Page
                                                           Page23
                                                                27ofof27
                                                                       31



               Orders during the period of restoration and the necessary interruption of their

               businesses stemming from the COVID-19 pandemic.

                                      COUNT VIII
            DECLARATORY JUDGMENT – SUE AND LABOR COVERAGE
       (Claim Brought on Behalf of the Sue and Labor Declaratory Judgment Class)

       107.    Plaintiffs GIO (“Plaintiffs” for the purpose of this claim) repeat and reallege

Paragraphs 1-50 as if fully set forth herein.

       108.    Plaintiffs bring this Count individually and on behalf of the other members of the

Sue and Labor Declaratory Judgment Class.

       109.    Plaintiffs’ Underwriters insurance policy, as well as those of the other Sue and

Labor Declaratory Judgment Class members, are contracts under which Underwriters was paid

premiums in exchange for its promise to pay Plaintiffs and the other Sue and Labor Declaratory

Judgment Class members’ reasonably incurred expenses to protect Covered Property.

       110.    Plaintiffs and the other Sue and Labor Declaratory Judgment Class members have

complied with all applicable provisions of the policies and/or those provisions have been waived

by Underwriters, or Underwriters is estopped from asserting them, and yet Underwriters has

abrogated its insurance coverage obligations pursuant to the policies’ clear and unambiguous terms

and has wrongfully and illegally refused to provide coverage to which Plaintiffs is entitled.

       111.    Underwriters has denied claims related to COVID-19 on a uniform and class wide

basis, without individual bases or investigations, such that the Court can render declaratory

judgment irrespective of whether members of the Class have filed a claim.

       112.    An actual case or controversy exists regarding Plaintiffs and the other Sue and

Labor Declaratory Judgment Class members’ rights and Underwriters’ obligations under the

policies to reimburse Plaintiffs and the other Sue and Labor Declaratory Judgment Class members



                                                23
             Case
              CaseMDL
                   1:20-cv-03107
                       No. 2942 Document
                                 Document1-9
                                          1 Filed
                                             Filed04/17/20
                                                   04/20/20 Page
                                                             Page24
                                                                  28ofof27
                                                                         31



for the full amount Plaintiffs and the other members of the Sue and Labor Declaratory Judgment

Class reasonably incurred to protect Covered Property from further damage by COVID-19.

       113.      Pursuant to 28 U.S.C. § 2201, Plaintiffs and the other Sue and Labor Declaratory

Judgment Class members seek a declaratory judgment from this Court declaring the following:

            i.   Plaintiffs and the other Sue and Labor Declaratory Judgment Class members

                 reasonably incurred expenses to protect Covered Property from further damage by

                 COVID-19 are insured losses under their policies; and

         ii.     Underwriters is obligated to pay Plaintiffs and the other Sue and Labor Declaratory

                 Judgment Class members for the full amount of the expenses they reasonably

                 incurred to protect Covered Property from further damage by COVID-19.

                                 VII.   REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the other Class members,

respectfully request that the Court enter judgment in their favor and against Defendants as follows:

       a.        Entering an order certifying the proposed nationwide Classes, as requested herein,

designating Plaintiffs as Class representative, and appointing Plaintiffs’ undersigned attorneys as

Counsel for the Classes;

       b.        Entering judgment on Counts I-IV in favor of Plaintiffs GIO and the members of

the Business Income Breach Class, the Civil Authority Breach Class, the Extra Expense Breach

Class, and the Sue and Labor Breach Class; and awarding damages for breach of contract in an

amount to be determined at trial;

       c.        Entering declaratory judgments on Counts V-VIII in favor of Plaintiffs and the

members of the Business Income Declaratory Judgment Class, the Civil Authority Declaratory

Judgment Class, the Extra Expense Declaratory Judgment Class, and the Sue and Labor

Declaratory Judgment Class as follows;
                                                 24
           Case
            CaseMDL
                 1:20-cv-03107
                     No. 2942 Document
                               Document1-9
                                        1 Filed
                                           Filed04/17/20
                                                 04/20/20 Page
                                                           Page25
                                                                29ofof27
                                                                       31



             i.   Business Income, Civil Authority, Extra Expense, and Sue and Labor losses

                  incurred in connection with the Closure Orders and the necessary interruption

                  of their businesses stemming from the COVID-19 pandemic are insured losses

                  under their policies; and

            ii.   Underwriters is obligated to pay for the full amount of the Business Income,

                  Civil Authority, Extra Expense, and Sue and Labor losses incurred and to be

                  incurred related to COVID-19, the Closure Orders and the necessary

                  interruption of their businesses stemming from the COVID-19 pandemic;

      d.      Ordering Defendants to pay both pre- and post-judgment interest on any amounts

awarded;

      e.      Ordering Defendants to pay attorneys’ fees and costs of suit; and

      f.      Ordering such other and further relief as may be just and proper.



                                     VIII. JURY DEMAND

      Plaintiffs hereby demand a trial by jury on all claims so triable.

Dated: April 17, 2020                                Respectfully submitted,

                                                     /s/Greg G. Gutzler
                                                     Greg G. Gutzler
                                                     DICELLO LEVITT GUTZLER LLC
                                                     444 Madison Avenue, Fourth Floor
                                                     New York, New York 10022
                                                     Telephone: 646-933-1000
                                                     ggutzler@dicellolevitt.com

                                                     Adam J. Levitt
                                                     Amy E. Keller*
                                                     Daniel R. Ferri*
                                                     Mark Hamill*
                                                     Laura E. Reasons*
                                                     DICELLO LEVITT GUTZLER LLC
                                                     Ten North Dearborn Street, Sixth Floor
                                               25
Case
 CaseMDL
      1:20-cv-03107
          No. 2942 Document
                    Document1-9
                             1 Filed
                                Filed04/17/20
                                      04/20/20 Page
                                                Page26
                                                     30ofof27
                                                            31



                                  Chicago, Illinois 60602
                                  Telephone: 312-214-7900
                                  alevitt@dicellolevitt.com
                                  dferri@dicellolevitt.com
                                  mhamill@dicellolevitt.com

                                  Mark A. DiCello*
                                  Kenneth P. Abbarno*
                                  Mark Abramowitz*
                                  DICELLO LEVITT GUTZLER LLC
                                  7556 Mentor Avenue
                                  Mentor, Ohio 44060
                                  Telephone: 440-953-8888
                                  madicello@dicellolevitt.com
                                  kabbarno@dicellolevitt.com
                                  mabramowitz@dicellolevitt.com

                                  Mark Lanier
                                  Alex Brown
                                  Skip McBride*
                                  THE LANIER LAW FIRM PC
                                  10940 West Sam Houston Parkway North
                                  Suite 100
                                  Houston, Texas 77064
                                  Telephone: 713-659-5200
                                  WML@lanierlawfirm.com
                                  alex.brown@lanierlawfirm.com
                                  skip.mcbride@lanierlawfirm.com

                                  Evan Janush
                                  THE LANIER LAW FIRM PC
                                  126 East 56th Street, Sixth Floor
                                  New York, New York 10022
                                  Telephone: 212-421-2800
                                  WML@lanierlawfirm.com
                                  alex.brown@lanierlawfirm.com

                                  Timothy W. Burns*
                                  Jeff J. Bowen*
                                  Jesse J. Bair*
                                  Freya K. Bowen*
                                  BURNS BOWEN BAIR LLP
                                  One South Pinckney Street, Suite 930
                                  Madison, Wisconsin 53703
                                  Telephone: 608-286-2302
                                  tburns@bbblawllp.com
                                  jbowen@bbblawllp.com
                             26
          Case
           CaseMDL
                1:20-cv-03107
                    No. 2942 Document
                              Document1-9
                                       1 Filed
                                          Filed04/17/20
                                                04/20/20 Page
                                                          Page27
                                                               31ofof27
                                                                      31



                                                    jbair@bbblawllp.com
                                                    fbowen@bbblawllp.com

                                                    Douglas Daniels*
                                                    DANIELS & TREDENNICK
                                                    6363 Woodway, Suite 700
                                                    Houston, Texas 77057
                                                    Telephone: 713-917-0024
                                                    douglas.daniels@dtlawyers.com

                                                    Counsel for Plaintiffs
                                                    and the Proposed Classes


* Applications for admission pro hac vice to be filed




                                               27
